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UNITED sTATEs DISTRICT COURT UC.
WESTERN DISTRICT OF TENNESSEE 05 JUH _9 P
EASTERN DIVISION H h= 3
Rc)sem' a
DANIEL SMITH, ) §Yl(§;li 15 "r`é il§@é§?
) /"EPJFH:s
Plaintiff )
)
v. ) No. 99-1261 Bre-P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
l
Defendants )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the Satisfaction of the Coul‘t that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
Scheduled Status Conference on June 24, 2005.

Dated:this al dayof llc ha ,2005.

WQQO/~\

+BAN+EL-BREEN~ 114 m P 11 Q m
UNITED sTATES M€q= JUDGE

m‘*§*Sl'r'Q`l'e

 

 

APPROVED FOR ENTRY:

Ti.is document entered on the docket shearin com llance

With Ru!e 58 and/or 79(a) FHCP on w

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fail‘ey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on lane M, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 1:99-CV-01261 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

